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 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     JARMAL DUPLESSIS
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:09-CR-00422 WBS
11                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER TO CONTINUE DISPOSITION
12          vs.                                         HEARING, AND TO EXCLUDE TIME
                                                        PURSUANT TO THE SPEEDY TRIAL
13   JARMAL DUPLESSIS,                                  ACT
14                                 Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jean Hobler, Assistant United States Attorney, attorney for plaintiff, and
18   Michael Hansen, attorney for defendant Jarmal Duplessis, that the previously-scheduled
19   disposition hearing date of January 28, 2013, be vacated and the matter set for disposition
20   hearing on March 4, 2013, at 9:30 a.m.
21          This continuance is requested to allow counsel additional time to have the defendant
22   interviewed by Probation to determine if he qualifies for a re-entry program.
23          The Government concurs with this request.
24          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
25          IT IS SO STIPULATED.
26   Dated: January 24, 2013                             Respectfully submitted,
27                                                       /s/ Michael E. Hansen
                                                         MICHAEL E. HANSEN
28                                                       Attorney for Defendant
                                                         JARMAL DUPLESSIS

                                                    1
     Stipulation and [Proposed] Order to Continue Disposition Hearing
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 1   Dated: January 24, 2013                              BENJAMIN B. WAGNER
                                                          United States Attorney
 2
                                                          By: /s/ Michael E. Hansen for
 3                                                        JEAN HOBLER
                                                          Assistant U.S. Attorney
 4                                                        Attorney for Plaintiff
 5
 6                                               ORDER
 7            The Court orders that the January 28, 2013, disposition hearing shall be continued until
 8   March 4, 2013, at 9:30 a.m.
 9            IT IS SO ORDERED.
10   Dated:          January 24, 2013

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     Stipulation and [Proposed] Order to Continue Disposition Hearing
